Case:16-05934-MCF13 Doc#:155 Filed:10/08/18 Entered:10/08/18 17:33:01   Desc: Main
                           Document Page 1 of 4
Case:16-05934-MCF13 Doc#:155 Filed:10/08/18 Entered:10/08/18 17:33:01   Desc: Main
                           Document Page 2 of 4
Case:16-05934-MCF13 Doc#:155 Filed:10/08/18 Entered:10/08/18 17:33:01   Desc: Main
                           Document Page 3 of 4
Case:16-05934-MCF13 Doc#:155 Filed:10/08/18 Entered:10/08/18 17:33:01   Desc: Main
                           Document Page 4 of 4
